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                                 1   SETH D. BALLSTAEDT, ESQ.
                                     Nevada Bar No.: 11516
                                 2   BALLSTAEDT LAW FIRM
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                                 5   help@bkvegas.com
                                 6

                                 7                                                          e-filed December 19, 2018

                                 8
                                                                UNITED STATES BANKRUPTCY COURT
                                 9
                                                                           DISTRICT OF NEVADA
                                10

                                11   In re:                                               CASE NO.: 18-12586-ABL
                                                                                          TRUSTEE: BRIAN SHAPIRO
                                12   KENNETH RAY MCMAHAN
9555 S Eastern Ave., Ste #285
 BALLSTAEDT LAW FIRM




                                                                                          CHAPTER: 7
   Las Vegas, NV 89123




                                13
                                                                                          HEARING DATE: JANUARY 23, 2019
                                14                                                        HEARING TIME: 9:30 AM
                                15                                  Debtor(s)
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                                18                  MOTION TO WITHDRAW AS ATTORNEY OF RECORD

                                19            SETH D. BALLSTAEDT, ESQ. moves this Honorable Court for an order allowing

                                20   withdrawal as attorney of record for Debtor. This motion is made and based upon the
                                     pleadings and papers on file herein, and upon the following Points and Authorities.
                                21

                                22                                        STATEMENT OF FACTS

                                23       1. KENNETH RAY MCMAHAN (hereinafter referred to as “debtor(s)”), commenced this

                                24             case on May 3, 2018 by filing a voluntary petition for relief under Chapter 13 of Title 11

                                25             of the United States Bankruptcy Code.

                                26       2. Debtor has hired alternative counsel and is no longer paying Ballstaedt Law Firm.

                                27             Ballstaedt Law Firm seeks to withdraw as counsel of record for Debtor, and not represent

                                28             Debtor in subsequent events within the instant case.
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                                                                     POINTS AND AUTHORITIES
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                                     E.D.C.R. 7.40(2)(I) states as follows:
                                 4

                                 5          (2)       When no attorney has been retained to replace the attorney withdrawing, by order
                                            of the court, granted upon written motion therefore, and
                                 6          (i)       If the application is made by the attorney, he must include in an affidavit, the
                                 7          address, or last know address, at which the client may be served with notice of further
                                            proceedings taken in the case in the event application for withdrawal is granted, and he
                                 8          must serve a copy of the application upon the client and all other parties to the action or
                                 9          their attorneys...

                                10                                               PRAYER

                                11          WHEREFORE, Seth D. Ballstaedt and The Ballstaedt Law Firm hereby request this

                                12   Honorable Court grant this Motion for Withdrawal as Counsel in the instant case.
9555 S Eastern Ave., Ste #285
 BALLSTAEDT LAW FIRM

   Las Vegas, NV 89123




                                13
                                           Dated this 19 day of December, 2018
                                14
                                                                                                /s/ Seth D. Ballstaedt, Esq.
                                15                                                              Seth D. Ballstaedt, Esq.
                                                                                                Attorney for Debtor(s)
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